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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                             Case No. 4:15-cr-00042-02 KGB

LARRY YOUNG                                                                    DEFENDANT

                                            ORDER

       Before the Court is the United States’ motion to dismiss indictment without prejudice

now pending against defendant Larry Young (Dkt. No. 31). The United States’ motion to

dismiss indictment is granted, and the indictment now pending against Mr. Young is hereby

dismissed without prejudice.

       It is so ordered this 4th day of November, 2016.



                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
